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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

JOHN L. BULLOCK,

       Plaintiff/Petitioner,

vs.                                                                 NO.: 2:10-cv-02482

WORLDS SAVING BANK, FSB;
WACHOVIA MORTGAGE
SENIOR VICE PRESIDENT MARY C. REEDER;
THE CITY OF MEMPHIS; PAMELA POPE JOHNSON;
and MELISSA PALO,

      Defendants/Respondents.
______________________________________________________________________________

             MOTION TO DISMISS DEFENDANT CITY OF MEMPHIS
______________________________________________________________________________


       Pursuant to Rule 12(b)(6) and Rule 12(b)(1), Federal Rules of Civil Procedure,

Defendant City of Memphis, Tennessee moves the Court to dismiss the Complaint for the

Plaintiff’s claim against the City. A dismissal is appropriate because the Plaintiff has failed to

set forth any foundation for a claim against the City as is required by Rule 12 of the Federal

Rules of Civil Procedure.

       Wherefore, the City of Memphis respectfully requests the Court to dismiss the Plaintiff’s

claim against the City of Memphis and for all further relief the Court deems just and proper.


                                                    Respectfully submitted,

                                                    HERMAN MORRIS, JR.
                                                    CITY ATTORNEY

                                             By: s/Zayid A. Saleem_________________
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 1, 2010, I electronically filed the foregoing document with
the United States District Court, Western Division, by using the ECF system. I further certify a
copy of the foregoing document has been forwarded to the following counsel for the parties in
interest herein via United States First Class Mail, postage prepaid, on this 1st , day of July 2010.

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                                                      s/Zayid A. Saleem_________________
                                                      Zayid A. Saleem




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